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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                      Case No. 1:22-cv-329

                       Plaintiff,               STATE OF IDAHO’S PARTIAL
                                                NON-OPPOSITION TO UNITED
 v.                                             STATES’ MOTION TO EXTEND
                                                BRIEFING SCHEDULE
 THE STATE OF IDAHO,                            REGARDING MOTIONS FOR
                                                RECONSIDERATION (Dkt. 99)
                       Defendant.



       The State of Idaho files this partial non-opposition to the United States’ Motion to Extend

Briefing Schedule Regarding Motions for Reconsideration. The State does not oppose the United

States’ request to respond to the Idaho Legislature’s motion for reconsideration (Dkt. 97) at the

same time the United States files its response to the State of Idaho’s forthcoming motion for

STATE OF IDAHO’S PARTIAL NON-OPPOSITION TO UNITED STATES’ MOTION TO
EXTEND BRIEFING SCHEDULE REGARDING MOTIONS FOR RECONSIDERATION
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reconsideration, which will be filed on or before September 21, 2022. The State of Idaho

understands such response would be filed in accordance with the timing of Local Civil Rule 7.1.

       However, with respect to the United States’ request that it be granted 40 pages to provide

a combined response, the State of Idaho suggests that the Court defer ruling on this request or deny

this request but grant the United States leave to reassert such request. The State of Idaho suggests

the better approach would be for the United States to review both the Idaho Legislature’s and State

of Idaho’s motions for reconsideration, and then reassert how many pages it believes it needs after

seeing the motions. The State anticipates overlap between the arguments advanced by the State

and those advanced by the Legislature.



DATED this 16th day of September, 2022.

                                              OFFICE OF THE ATTORNEY GENERAL


                                              By:    /s/ Brian V. Church
                                                     BRIAN V. CHURCH
                                                     Deputy Attorney General




STATE OF IDAHO’S PARTIAL NON-OPPOSITION TO UNITED STATES’ MOTION TO
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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STATE OF IDAHO’S PARTIAL NON-OPPOSITION TO UNITED STATES’ MOTION TO
EXTEND BRIEFING SCHEDULE REGARDING MOTIONS FOR RECONSIDERATION
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                                            Association, National Hispanic Medical
                                            Association, American Academy of
                                            Pediatrics, American Academy of Family
                                            Physicians, American Public Health
                                            Association, and American Medical
                                            Association


      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non-CM/ECF Registered Participant via email:

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                                                     /s/ Brian V. Church
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                                                     Deputy Attorney General




STATE OF IDAHO’S PARTIAL NON-OPPOSITION TO UNITED STATES’ MOTION TO
EXTEND BRIEFING SCHEDULE REGARDING MOTIONS FOR RECONSIDERATION
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